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> 4 2021-0810 Consent to Su...

LEVIN-EPSTEIN & ASSOCIATES, P.C.

60 Eost 42° Street = Suite 4700 = New York, New York 10145

T: 212.792-0046 = E:
CONSENT TO SUE

By my signature below, | hereby authonze the filing and prosecution of claims in my name and on
my behalf to contest the failure of Cecil’s Steakhouse and its owners and affiliates to pay me, infer
alia, overtime wages as required under state and/or federal law and also authorize the filing of this
consent in the lawsuit challenging such conduct, and consent to being named as a representative
plaintiff in this action to make decisions on behalf of all other plaintiffs concerning all aspects of this

lawsuit. | have been provided with a copy of a retainer agreement with the law firm of Levin-Epstein
& Associates, P.C., and | agree to be bound by its terms.

Daria .@

TIL = LI

 
